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   MOHAMMAD ADNAN KHAN
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 6
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:12- CR 0180 MCE
11
                                   Plaintiff,            WAIVER OF DEFENDANT’S APPEARANCE
12
                            v.
13
     , MOHAMMAD ADNAN KHAN,
14   ,
                        Defendants.
15
16
17
18          Pursuant to Fed. R. Crim. P. 43(b)(3) and (4), defendant, MOHAMMAD ADNAN KHAN,

19 waives his right to appear in person in open court in connection with the remand and resentencing of this

20
     matter. The issues to be resolved at sentencing are questions of law and sentence correction within the
21
     meaning of. Fed. R. Crim. P. 43(b)(3) and (4). Mr. Khan requests the Court to proceed during every
22
     absence of his which the Court may permit pursuant to this waiver; agrees that his interests will be
23
     represented at all times by the presence of his attorney, the same as if defendant were personally present.
24
25 The defendant acknowledges that he has the right to be present at any and all hearings in this case.

26          The original signed copy of this waiver is preserved by Mr. Adnan’s attorney.
27 DATED: October __, 2017                        /;s/ Mohammad Adnan-Khan,
                                                  MOHAMMAD ADNAN KHAN
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                                                         1
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 1
 2 I agree with and consent to my client’s waiver of appearance.
 3
     DATED October 17, 2017                   By:   /s/ Robert M. Wilson
 4                                                  ROBERT M. WILSON
                                                    Counsel for MOHAMMAD ADNAN KHAN
 5
 6
 7                                                    ORDER

 8          It is hereby ordered that Mohammad Adnan Khan’s appearance is waived in open court upon the
 9
     hearing of any motion or other proceeding in this case about the remand and resentencing of this matter.
10
     The issues to be resolved at sentencing are questions of law and sentence correction within the meaning
11
     of. Fed. R. Crim. P. 43(b)(3) and (4).
12
            IT IS SO ORDERED.
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14 Dated: October 17, 2017
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